EXHIBIT 2

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 1 of 31

www. rg2claims.com

Estimate of Costs for Notice & Administration Services related to:
Citgo Nationwide Class Action

EXPERIENCE

RG/2 Claims Administration LLC is a full service class action settlement administration company formed by a
team of attorneys and financial and accounting professionals with decades of experience handling complex
claims.

SERVICE

The RG/2 Claims team is a talented group of professionals who provide the comprehensive range of services
required to meet the notice and administration needs of Counsel in this matter. We have analyzed Court
documents and other information available regarding your case and have put together the best package for your
administration needs, including but not limited to: class member notification via direct postcard and publication
notice; collection, analysis, and processing of claims; fraud prevention measures; and, distribution of settlement
funds to approved class members.

CUTTING EDGE TECHNOLOGY

To execute the Notice, Administration, and Distribution processes described in this proposal our team will utilize
our proprietary and customizable CLEVerPay® technology to offer flexible decision making and unparalleled
resource management, as well as real-time updates and reporting. CLEVerPay® is a single-source database
solution that centralizes settlement administration from notification to distribution and reconciliation.

FRAUD PREVENTION

RG/2 uses a variety of fraud protection controls throughout the administration process to identify potential
fraudulent claims. Duplicate claim searches (by class member name, address, and social security number, if
applicable), spot reviews and other standard audit report procedures that examine the information in a variety of
ways, will be used during the claims review process, Furthermore, RG/2 will review and compare the settlement
database for this Settlement against the “watch list” of known potential fraudulent filers that RG/2 developed
throughout its years of experience as a claims administrator. RG/2 also works closely with the FBI to update that
watch list with the latest information available.

p Cost $ 11,683
Notification Cost $ 456,894
Processing Costs $ 56,638
Telephone & Email Support $ 15,462
Fund Distribution & Tax Reporting $ 136,620
Project Management $ 32,191
Total Estimated Cost $ 709,486

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9 CONFIDENTIAL PROPOSAL-NOT EC URARIBUTION Page 2 of 31 2/41/2020

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Estimate of Costs for Notice & Administration Services related to:
Citgo Nationwide Class Action

RG/2 Claims Administration LLC's proposal relies upon the assumptions set forth herein. Any services not discussed herein but required by
counsel, the Orders of the Court, or Settlement Agreement will be billed in addition to this proposal.

Class Size Quantity
Total Class Members 215,000
Notices Mailed 86,000

Claim Processing

Claims Filed 10,000
Opt-Outs Received 25
Checks Issued 96,000

Mailing & Damage Data

This estimate assumes mailing list and damage data will be provided in useable electronic format. Data in useable electronic format
includes mailing data, social security numbers, and finalized damage data required for settlement payment calculation. Where
damage data requires analysis of multiple or duplicative records per settlement class member or requires the consolidation or
accumulation of data, additional time beyond that contemplated by this estimate may be required and will be charged in addition to
the estimate above by RG/2 staff at their preferred rates. RG/2 accepts data in ail standard file formats including excel files (.xIs),
text files (.txt}, comma separated value files (.csv), and access databases (.mdb}. Requests to process data from proprietary
databases or paper records, or other sources not identified above can be performed by RG/2 staff at their preferred rates.

Telephone Support
Proposal assumes live operators required and no-IVR is required.

Distribution
This proposal assumes a single distribution.

Tax Reporting
Assumes QSF tax filing is required and no other tax reporting is required.

Publicatign Notice

RG? will work in good faith with the parties to develop and implement an appropriate publication notice plan to be approved by the
parties and the Court.

Notice Package

Assumes 4 page generic notice to 86,000 class members that includes total $ purchased without details.

Page2 Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 3 of 31
CONFIDENTIAL PROPOSAL-NOT FOR DISTRIBUTION 2/41/2020

Page 3

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Estimate of Costs for Notice & Administration Services related to:
Citgo Nationwide Class Action

Design & Development
Start Up - Development of Case-Specific Notice Plan

Case Intake including Claim Form Design
Review Notice, Design and Typeset Forms
Data Management

Set Up Email Notice

Case Website

Develop Static website with Case documents
Develop Claim Portal

Monthly Maintenance (months)

Website Customizations

Publication Notice $
Print Circulation
Successful Farming 390,000+
Farm & Ranch Living 200,000
Progressive Farmer 412,352
Farm Journal 335,075
Regional Print
Placement of Notice in Regional Weekly Publications See Attached
Placement of Notice in Regional Daily Publications See Attached
Specialty Digital Impressions
Progressive Farmer 500,000
Farm Journal 600,000
Digital Impressions
Google Display Network 12,643,700
Search Engine TBD
Facebook 4,635,000
Radio/TV

RFD-TV (44 30 sacond spots)
Ag Network (140 60 second spots)
Rural Radio - (60 30 second spots)

issue Press Release
Project Management

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 4 of 31
CONFIDENTIAL PROPOSAL-NOT FOR DISTRIBUTION

376,568

2/11/2020

Page 4

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Estimate of Costs for Notice & Administration Services related to:

Citgo Nationwide Class Action

Quantity

(hours/pieces)

Direct Notice Campaign
Issue Notice via Email to Class
Issue 4-Page Notice by Mail
NCOA and Mail

Postage

Notice Folfow Up
Process Returned Notices
Skiptrace

Remail

Postage

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 5 of 31

CONFIDENTIAL PROPOSAL-NOT FOR DISTRIBUTION

86,000
86,000

86,000

8,600
8,600
8,600
8,600

2/11/2020

Page 5

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Estimate of Costs for Notice & Administration Services related to:
Citgo Nationwide Class Action

Claim Form Processing

Input Opt-Outs into Proprietary Database 25
Import Portal Claims 8,000
Claim Form Processing 2,000
Basic Claim Review 9,500
Claim Review including Damage evaluation 500
issue deficiency/Denial letters 100
Process responses to deficiency letters 100
Postage 160

Telephonic Database Support

Telephone Cails 3,225
Min Per Call 3
Total Minutes 9,675
Live Operator Minules* 9,675
Emails 500

0 per mo

QSF Tax Return Prep & Filing (1 year @ 5 hours per year}

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 6 of 31
CONFIDENTIAL PROPOSAL-NOT FOR DISTRIBUTION

Quantity

{hours/pieces) Amount
Distribution $ 435,120
Issue Paper Checks 96,000
Postage $6,000
Bank Fees
Reissue Checks 4,800
Postage 4,800
Tax Fillngs $

1,500

2/11/2020

County “

ms Pub day(s) =

Adair Adair News Thursday

Adams Corning Adams Co. Free Press Thursday

Allamakee Waukon Standard Wadnesday

Audubon Audubon County Advocate Journal Friday

Butler Parkersburg Eclipse-News-Review Wednesday

Chickasaw New Hampton Tribune Tuesday

Clayton Guttenberg Press Wednesday

Davis Bloomfield Democrat Wednesday

Decatur Leon Journal-Reporter Wednesday

Delaware Manchester Press Wednesday

Franktin Hampton Chronicle Wednesday

Greene Jefferson Herald Thursday

Guthrie Bayard News Gazette Thursday

Hancock Garner Leader Wednesday

Howard Cresco Times Plain Dealer Wednesday

Keokuk Sigourney News-Review Wednesday

Kossuth Algona Kossuth County Advance Thursday

Lyon Doon Press Thursday

Mitchel Osage Mitchell Co. Press-News Tuesday

Osceola Ocheyedan Press-Meivin News Wednesday

Palo Alto Emmetsburg Democrat Thursday

Pocahontas Pocahontas Record Democrat Wednesday

Ringgold Mount Ayr Record News Thursday

Sac Sac Cily Sac Sun Tuesday

Taylor Bedford Times Press Wednesday

Van Buren Keosauqua Van Buren Register Thursday

Wayne Corydon Times Republican Tuesday

Winneshiek Decorah Public Opinion Tuesday

Worth Northwood Anchor Wednesday

IOWA ee PETERS | 2 S =

Anderson Garnett Anderson County Area Community News Tuesday 3,800
Barber Gyp Hill Premiere Monday 1,051
Chase Cottonwood Falls Chase County Leader-News {Thursday 692
Chautauqua and Elk Sedan Prairie Star Wednesday 1,438
Cheyenne St. Francis Herald & Bird City Times Thursday 4,092
Clark Minneola Clark County Gazette Wednesday 760
Coffey Burlington Coffey County Republican Thursday 2,591
Comanche Coldwater Western Star Thursday 751
Decatur Oberlin Heraid Wednesday 1,125
Doniphan Wathena Kansas Chief Thursday 1,995
Edwards Kinsley Edwards County Sentinel Wednesday 509
Gove Quinter Gove County Advocate Wednesday 4,143
Graham Hill City Times Wednesday 4,528
Gray Montezuma Press Thursday 877
Hamilton Syracuse Journal Wednesday 646

Case 4:18-cv-00941-BP Document 126-2

Filed 02/12/20 Page 7 of 31

- County

ou davis)

Harper Anthony Republica Wednesday

Hodgeman Jetmore Republican Wednesday

Jackson Holton Recorder Mon, Wed

Jewell Mankato Jewell County Record Thursday

Kearny Lakin Independent Wednesday

Kingman Kingman Leader-Courier Thursday

Kiowa Mullinville Merchant's Directory Wednesday

Lane Dighton Heraid Wednesday

Lincoln Lincoln Sentinel-Republican Thursday

Linn Pleasanton Linn County News Wednesday

Logan Oakley Graphic Wednesday

Marion Marion County Record Wednesday

Marshall Marysville Advocate Thursday

Meade Meade County News Wednesday

Mortis White City Prairie Post Thursday

Morton Fikhart Tri-State News Thursday

Nemaha Seneca Courler-Tribune Wednesday

Ness Ness County News Thursday

Norton Norton Telegram Wednesday

Osage Osage City Osage County Herald-Chronicie Thursday

Osborne Osborne County Farmer Thursday

Ottawa Minneapolis Messenger Thursday

Phillips Russell Phillips County Review Wednesday

Rawlins Atwood Rawlins County Square Deai Thursday

Republic Belleville Telescope Thursday

Rooks Stockton Sentinel Thursday

Rush La Crosse Rush County News Wednesday

Sheridan Sheridan Sentinei Thursday

Sherman Goodand Star-News Tues, Fri

Smith Smith County Pioneer Thursday

Stafford Stafford Courier Wednesday 836
Stanton Johnson Pioneer Thursday 703
Stevens Hugoton Hermes Thursday 1,146
Trego Russeil Western Kansas World Thursday 4,263
Wabaunsee Alma Wabaunsee County Signal-Enterprise Thursday 983
Wallace Sharon Springs Western Times Thursday 549
Washington Washington County News Thursday 1,909
Wichita Leoti Wichita County Native Sun (aka Leoti Stand\Wednesday 583
Woodson Yates Center News Thursday

Atchison Rock Port Atchison County Mail Thursday 4,733
Barton Lamar Democrat Wednesday 1,450
Bates Butler News-Xpress Friday 1,200
Caldwell Hamilton Caldwell County News Tuesday 4,082
Carroll Carrolton Democrat Wednesday 1,435

Case 4:18-cv-00941-BP Document 126-2

Filed 02/12/20 Page 8 of 31

Se County 0 ep publication [Pub day{s)

Chariton Salisbury Chariton County Journal Thursday

Clark Kahoka Media Wednesday 2,000

Dade Greenfield Vedette Thursday 1,600

Dallas Buffalo Reflex Wednesday 4,156

Daviess Gallatin North Missourian Wednesday 4,487

Dekalb Maysville DeKalb Co. Record-Herald Thursday 1,308

Douglas Ava Douglas Co. Herald Thursday 2,900

Gentry King City Tri-County News Friday 4,420

Grundy Trenton Republican-Times Tues, Fri 2,000

Harrison Bethany Republican-Clipper Wednesday 2,450

Holt Oregon Times Observer Thursday 875

Howard Fayette Advertiser Wednesday 1,500

Knox Edina Sentinel Wednesday 1,600

Lewis Canton Press-News Journal Thursday 1,083

Macon LaPlata Macon County Home Press Wednesday 1,500

Maries Vienna Maries County Gazette Wednesday 2,269

Mercer Princeton Post-Telegraph Thursday 1,100

Moniteau California Democrat Wednesday 2,580

Monroe Paris Monroe Co. Appeal Thursday 4,200

Oregon Thayer South Missourian News Thursday 4,100

Osage Linn Unterrified Democrat Wednesday 3,900

Ozark Gainesville Ozark County Times Wednesday 3,474

Putnam Unionville Republican Wednesday 1,535

Schuyler Queen City Schuyler County Times Thursday 1,300

Scotland Memphis Democrat Thursday 1,900

Shelby Sheibina Weekly Wednesday 1,400

St. Clair Osceola St. Clair County Courier Friday 1,620

Sullivan Milan Standard Thursday 2,100

Worth Grant City Times-Tribune Thursday 810

Moniteau Tipton Times Thursday 1,465

Taney Branson Tri-Lake News Wed, Sat 6,300

Barry Cassville Democrat Wednesday 4,800

Atoka Atoka County Times W 3,099
Biaine Watonga Republican Ww 1,896
Choctaw Hugo News TF 1,971
Coal Coalgate Record-Register W 1,803
Dewey Seiling Dewey County Record TH 579
Ellis Shattuck NW Oklahoman TH 424
Greer Mangum Star-News TH 4,246
Harper Buffalo Weekly News Ww 812
Haskell Stigler News-Sentinel TH 3,756
Hughes Holdenville News Sw 2,000
Kiowa Hobart Democrat-Chief TH 2,422
Latimer Wilburton - Latimer Co. News -Tribune TH 1,639

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20

Page 9 of 31

“County =:

“Publication:

Lincoln

Chandler - Lincoin County News

Nobie Perry Journal

Nowata Nowata Star
Okfuskee Okemah News Leader
Pushmataha Antlers American
Roger Mills Cheyenne Star
Washita Cordejl Beacon
Washita Sentinel Leader

Alva Review Courier

Cajhoun Hardin Calhoun News-Herald W 1,800
Jasper Newton Jasper County News Eagle M 5,650
Schuyler Rushville Times Ww 2,975
Hamilton McLeansboro Gazette Th 4,500
Pope Golconda Herald Enterprise W 1,500
ILLINOIS Te Te |

Antelope County - Orchard/Neligh/Clearwater/Ewing Antelope Co. NWednesday 2,555
Arthur County Arthur Enterprise Thursday 310
Boone County Aibion News* Wednesday 1,969
Boyd County Spencer Advocate Thursday 738
Brown County Ainsworth Star-Journal Wednesday 1,279
Burt County Tekamah Burt Co, Plaindealer* Tuesday 1,264
Butier County David City Banner-Press* Thursday 1,632
Cedar County Hartington Cedar Co. News* Wednesday 4,493
Chase County Imperial Republican* Thursday 1,598
Cherry County Valentine Midland News Wednesday 1,502
Cheyenne County Sidney Sun-Telegraph* Wed, Fri 4,459
Clay County Sutton Clay Co. News* Wednesday 1,636
Cuming County West Point News* Wednesday 2,071
Custer County Broken Bow Custer Co. Chief* Thursday 1,865
Dixon County Ponca NE Journal-Leader Thursday 1,296
Dundy County Benkelman Post & News-Chronicle Wednesday 944
Fillmore County Geneva Nebraska Signal* Wednesday 1,854
Franklin County Franklin County Chronicle Wednesday 4,045
Frontier County Curtis Frontier Co. Enterprise” Thursday 822
Furnas County Cambridge Clarion* Thursday 1,671
Garden County Oshkosh Garden Co. News* Wednesday 4,044
Garfield County Burwell Tribune* Wednesday 907
Grant County Hyannis Grant Co. News Thursday 416
Greeley County Greeley Citizen Thursday 807
Harlan County Alma Harlan Co. Journal Thursday g42
Hayes County Hayes Center Times-Republican Thursday 400
Hitchcock County Trenton Hitchcock Co. News Thursday 957
Holt County O'Neill Holt Co. Independent Thursday 1,739

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 10 of 31

meee “County ee fo "Publication - Pub day(s)
Hooker County Muilen Hooker Co. Tribune Thursday
Howard County St. Paul Phonograph-Herald Wednesday
Jefferson County Fairbury Journal-News* Wednesday
Johnson County Tecumseh Chieftain Thursday
Keya Paha County Springview Herald Wednesday
Kimball County Kimball Western Nebraska Observer* Thursday
Knox County Bloomfield/Creighton Knox Co. News/Monitor _ |\Wednesday
Logan County Stapleton Enterprise Thursday
Morrill County Bayard Transcript Wednesday
Nance County Fullerton Nance Co, Journal Wednesday
Nuckolls County Superior Express* Thursday
Pawnee County Pawnee Republican” Thursday
Perkins County Grant Tribune-Sentinel” Wednesday
Pierce County Pierce Co, Leader Thursday
Polk County Stromsburg Polk Co. News* Thursday
Richardson County Humboldt Standard Thursday
Rock County Bassett Rock Co. Leader Wednesday
Sheridan County Gordon Sheridan Co. Journal-Star Wednesday
Sherman County Loup City Sherman Co, Times Wednesday
Stanton County Stanton Register Wednesday
Thayer County Hebron Journal-Register* Wednesday
Thomas County Thedford Thomas County Herald Thursday
Valley County Ord Quiz* Wednesday
Webster County Red Cloud Chief Wednesday
Madison County Huntsville Madison County Record Thursday 3282
Newton County Jasper Newton County Times Wednesday 1218
Prairie County Hazen Grand Prairie Herald Wednesday 691
Searcy County Marshali Mountain Wave Thursday
ARKANSAS cc <r — 1
lowa lowa Spokesman 55669
filinois Iilinois Agrinews 23781
Indiana Indiana Agrinews 12338
Nebraska Midwest Messenger 43794
Missouri MFA Today's Farmer 30372
Oklahoma OK Farm Bureau Country 90000
Arkansas Arkansas Agriculture 46075
Kansas Kansas Farmer

Weekly Regional Magazines.

[GRAND.TOTAL 1X frequency|Weeklies

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 11 of 31

Cedar Rapids Gazette

Publication

Des Moines Register
Dubuque Telegraph Herald

Arkansas Democrat Gazette

Fort Smith Times Record
Chicago Tribune
Chicago Sun Times

Oklahoma City Daily Oklahoman

Tusla World

Omaha World Herald
The Salina Journal

The Witcita Journal

The Indianapolis Star
The Times

The Kansas City Star

St. Louis Post-Dispatch
Clinton News

Columbia Daily Tribune
Columbia Daily Tribune
Daily American Republic
Hannibal Courier Post
Jefferson City News Tribune
Joplin Globe

Sedalia Democrat
Southeastern Missourian
Southeastern Missourian
Sprinfield News Leader
St Joseph News Press
The Examiner

Case 4:18-cv-00941-BP Document 126-2

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104,539
13,754
181,718
131,402
92,073
57,547
155,000
49,000
40,000
166,542
71,184
183,307
178,801
3,685
10,500
9,000
6,200
4,433
15,000
18,922
5,693
15,755
10,700
29,120
23,500
6,500

Filed 02/12/20 Page 12 of 31

Estimate of Costs for Notice & Administration Services related to:
Citgo Nationwide Class Action

All notice and claims administration services to be provided by RG/2 Claims Administration LLC (“RG/2 Claims”) to Client shall be
subject to the following terms and conditions:

1. Subject to the terms hereof, RG/2 Claims agrees to provide the Client with the notice and/or claims administration services
(“Notice/Claims Services") as specified in the Proposat provided to Client to which these Terms and Conditions are attached, Any
services not described herein but required by counsel, the Orders of the Court, or Settlement Agreement will be billed in addition to
this proposal.

2. Charges to the Client for Notive/Claims Services shaif be on a time and materials basis at our preferred regular rates, which are
updated on a regular basis. Any fee estimates set forth in the proposal are estimates only, based on information provided by Client
to RG/2 Claims and subject to the assumptions set forth above. Actual fees charged by RG/2 Claims to Client may be greater or
less that: such estimate, and Client shall be responsible for the timely payment of all such charges and expenses.

3, RG/2 Claims does not convey nor does the Client obtain any right in the programs, system data, or materials utilized or provided
by RG/2 Claims in the ordinary course of business in the performance of this Agreement.

4, To the extent performance by RG/2 Claims of any of its obligations hereunder is substantially prevented by reason of Force
Majeure, any act of God, or by reason of any other matter beyond RG/2 Claims’ reasonable control, then such performance shall be
excused and this Agreement, at RG/2 Claims’ option, be deemed suspended during the continuation of such condition and for a
reasonable time thereafter.

5, The terms of this agreement will remain in effect until completion of the Notice/Claims Services, unless earlier terminated in
accordance with Section 7 hereof,

6, Untess directed otherwise in writing by Client, RG/2 Claims will retain and destroy all records inchiding documents, reports,
electronics record, and other materials in accordance with its Record Retention and Destruction Policy.

7. The Notice/Claims Services to be provided under this Agreement may be terminated, at will by the Client upon at least 30
calendar days prior written notice to RG/2 Claims . The Client's obligation to pay for services or projects in progress at the time of
notice of withdrawal shall continue throughout that 30 day period, RG/2 Claims may terminate this Agreement Gi) with 16
calendar days prior written notice, if the Client is not current in payment of charges or (ii) in any event, upon at least 3 months
prior written notice to the Client. In the event Client terminates this agreement, RG/2 Claims shall have no obligation to release or
provide any data, report, or other information relating to the applicable case until Clients’ payment obligation for RG/2 Claims
services has been satisfied in full.

8. Any notice required or permitted hereunder shall be in writing and shall be delivered personally, by, or sent by registered mail,
postage prepaid, or overnight courier service to the responsible officer or principal of RG/2 Claims or the Client, as applicable,
and shall be deemed given when so delivered personally, or, if mailed, five days after the date of deposit in United States mail, or,
if sent by coyrier, one business day after delivery to such courier service.

9, No failure or delay on the part of a party in exercising any right hereunder will operate as a waiver of, or impair, any such right
No single or partial exercise of any such right will preclude any other or further exercise thereof or the exercise of any other right.
No waiver of any such right will be effective unless given in a signed writing.

10. All accrued payment obligations hereunder, any remedies for breach of this Agreement, this Section and Section 3 regarding
rights in data will survive any expiration or termination of this Agreement.

11. The retention or appointment of RG/2 Claims to perform Notice/Claims Services constitutes the CHent’s agreement to be
bound by these Terms and Conditions for the applicable matter.

12. These Terms and Conditions and Proposal provided to Client to which these Terms and Conditions are attached shall constitute
the entire agreement between the parties with respect to the subject matter hereof, and supersedes all prior negotiations,
representations, and agreements related thereto, either written or oral, except to the extent they are expressly incorporated herein.
No addition to, waiver, or modification of any provision of these Terms and Conditions shall be binding unless in writing and
signed by a duly authorized representative of RG/2 Claims and Client.

13. RG/2 may be eligible for rebates or volume-based credits from vendors and/or financial institutions. These rebates are the
property of RG/2 and will not be passed through to individual matters.

14. This estimate is vatid for ninety (90) days from the date of issuance.

Page 12. Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 13 of 31
CONFIDENTIAL PROPOSAL-NOT FOR DISTRIBUTION 2/14/2020

Class Notice Campaign Proposal

Ciaims Administration LLC

MileMaster 303 Tractor Hydraulic Fluid and
Orscheln Premium 303 Tractor & Hydraulic Fluid

- CONFIDENTIAL -

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 14 of 31

Strategy overview

e¢ 150-day multi-media national campaign
o Online display ~ Google Display Network
o Online search — Google Search Engine Marketing
o Online social — Facebook news feed and associated platforms:
Instagram, Stories, Instant articles, Messenger, Marketplace
Print — national agriculture magazines
Print — state agriculture magazines
Online display — Ag websites
Print — daily newspapers
Print — weekly newspapers
Broadcast — TV
Broadcast - radio
Publicity — PRweb

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* All online media will be tested and will start with the allocation of funds and
targeting as specified in this notice plan. As the campaign progresses
optimization will occur, based on such factors as reach, impressions,
clicks to the website, claims will be evaluated so modifications to variables
will be made as appropriate. Modifications to variables may include
creative (messaging, visuals), targeting, frequency caps, reallocation of
budgeted dollars among the media. Elimination of a particular platform is
possible if performance is lagging behind expectations. The length of this
campaign provides an excellent opportunity for such testing and
optimization.

e Call-to-action — Visit htto:/Avww..000xxxxxx.com, the website for more
information. Plus print publications will offer a phone number and mailing
address of RG/2 Claims Administration. We recommend a short URL.
especially if broadcast media are deployed.

e Digital ad banners will appear on desktop, tablet and mobile devices.

Target audience/members of the class

The class is comprised of all purchasers of MileMaster 303 Tractor Hydraulic
Fluid, Orschein Premium 303 Tractor & Hydraulic Fluid and SuperTech 303
Tractor Hydraulic Oil within a date range of May 25, 2013 to present. Purchase
dates vary within this range depending on circumstances of the transaction (size,
merchant, etc.). The size of the class is estimated at ~299,083 purchasers. At
70%, the target reach is ~209,358.

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 15 of 31

Digital display advertising | Google Display Network

Overview

150-day display campaign will deliver an estimated 12,643,700 impressions and
1,264,370 reach based on a frequency cap of 10x over the 150-day campaign.
This is geo-targeted nationally.

The display ads are primarily an awareness medium because click-through rates
are historically very low in this type of campaign. The ads appear on targeted
sites by topic that consumers are visiting, but consumers do not go to the site to
view any particular third-party ad.

Eight banner ad sizes will be prepared and submitted to Google and other web
sites in the ag network for insertion as inventory is available. The pixel and inch
equivalents for desktop viewing (viewed in mobile as well) are:

250 x 250 — Square (3.5" x 3.5")

200 x 200 ~ Small square (2.75" x 2.75")
468 x 60 — Banner (6.5" x 1")

728 x 90 —Leaderboard (10"x 1.25")

300 x 250 — Inline rectangle (4.25" x 3.5")
336 x 280 — Large rectangle (4.75" x 4")
420 x 600 — Skyscraper (1.75" x 8.25")

160 x 600 — Wide skyscraper (2.25" x 8.25")

The ads will consist of a:

> Photo (where ad size permits)

> Short headline (at least 1, or up to 5 headlines, of 30 characters or fewer)
> Long headline (90 characters or fewer)

> Description (at least 1, or up to 5 descriptions)

We will notify the media to exclude the following site categories: sexually
suggestive, profanity and rough language and those that are not yet labeled.

We will target the following topics, although, we have the flexibility to add to
remove keywords and topics during the course of the campaign.

Target Demos
Age: adults 18+
Language: English

Topic selections
Agriculture & Forestry, industrial Materials & Equipment

Tactical implementation

e Wewill create two ads in each of eight sizes so Google has the flexibility
to publish ads on sites in their display network based on ad size

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 16 of 31

availability. Then we will optimize the ads that are meeting performance
expectations, and pause ads that are performing poorly.

e Each ad will allow the consumer to click through to the settlement website.
Because of some of the more generic topics driving consumers to the site,
we expect that you will have a low Google Quality Score. Google
Analytics will be a valuable tool in evaluating traffic to the site and in
ascertaining what happens once they get there.

Google Search Engine Marketing
(a/k/a pay-per-click)

Overview

150-day display campaign. The number of impressions delivered are unknown
until the campaign goes live. When a consumer enters a search query online,
Google matches it with keywords that the advertiser bids on and an ad displays
on the search engine results page (SERP). If the consumer clicks on the ad, they
arrive on the settlement website. This is geo-targeted national.

Target Demos
Adults: 18+
Language: English

Ad size
All text, no photos permitted with this format. Three headlines of
30 characters and two description lines of 90 characters.

Typical keyword phrases
303 THF, tractor hydraulic fluid, Super S Super Trac 303 THF, etc. An extensive

list will be prepared and submitted for approval.

Tactical implementation
e Wewill create a series of ads to appear on the SERP Then we will
optimize the campaign by pausing ads that are performing poorly and
reallocate budget to the ads that generate the highest click through rate.

e Each ad will allow the consumer to click through to the settlement website.
Because of some of the more generic topics driving consumers to the site,
we expect that you will have a low Googie Quality Score. Google Analytics
will be a valuable too! in evaluating traffic to the site and in ascertaining
what happens once they get there.

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 17 of 31

Social media

Overview

150-day Facebook campaign has an estimated 4,635,000 impressions and
estimated reach of 927,000 based on a frequency cap of 5x over the length of
the campaign. digital ads will appear on Facebook newsfeed, instagram, Stories,
Messenger, Marketplace and Instant articles.

Demos:

Age 18-65+
Gender All adults
Language English

Geo targets — high revenue states: MO, IN, IL, IA, NE, OK, AR, KS

Reach

Impressions

Freq. cap

2,820,000

564,000

5x

Geo targets — all other 42 states

Impressions

Reach

Freq. cap

1,815,000

363,000

5x

Ad size

Feed text: 125 characters

Feed headline: 25 characters

Feed link description: 30 characters

Ad must be 600x600 pixels (8.25” x 8.24” desktop) and contain less than 20%
text

Target topics

Agribusiness, agricultural machinery, combine harvester, farm or agriculture,
Agriculture field of study, farming, agriculture, farmer, agriculture specialist, farm
managers, general farmer, farm supervisor, agriculture worker, farm owner
operator, construction and extraction, installation and repair services, farming,
fishing and forestry or cleaning and maintenance services

Tactical implementation
e We will test more than one version of the ad to optimize on messaging

« Budget allocations within the Facebook platforms can be adjusted based
on performance

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 18 of 31

National Magazines
targeted to farmers and the agricultural community

Overview — all ads will run 1x during the 150-day campaign. Size is % page.
Total circulation estimated at 1,337,427.

Publication Circulation | Comments

Successful Farming 390,000 | 4/color

Farm & Ranch Living 200,000 | B&W

Progressive Farmer 412,352 | Marketplace section 4/c

Farm Journal 335,075 | Buyer's Resource Section,
rear of book 4/c

State/Regional Agricultural Magazines
Targets farmers and the agricultural community

Overview — all ads will run 1x during the 150-day campaign. Size varies by
publication, but approximately 5" x 5%", Total circulation is estimated at 324,029.

Publication Circulation | State/‘Comments

Midwest Messenger 43,794 | Nebraska, B & W

OK Farm Bureau Country 90.000 | Oklahoma, 4/c same as B & W
MFA Today's Farmer 30,372 | Missouri, B & W

lowa Spokesman 55,669 | lowa, % tab size, B & W
lilincis Agrinews 23,781 | Illinois, B& W

indiana Agrinews 12,338 | Indiana, 8 & W

Arkansas Agriculture 46,075 | Arkansas, 4/c premium waived
Kansas Farmer 22,000 | Kansas, B&W.

Agricultural Magazines - Online display

Overview — banner ads to run on the digital platforms of selected national ag
magazines. Progressive Farmer hitos:/Avww.dtnpf.com/agricultureAveb/ag/home
and Farm Journal https:/Avww.agweb.com/. These sites are targeted at farmers
nationally.

Website Impressions | Comments
Progressive Farmer 506,000 | 100k/mo. 3 mos.
Farm Journal 600,000 | 200k/mo. 3 mos.

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 19 of 31

Daily Newspapers

ope ee Publication: ~. [Pub ‘day(s) 2 “Readership

Cedar Rapids Gazette Sun-Sat 66,499

iA Des Moines Register Sun-Sat 125,834
lA Dubuque Telegraph Heraid Sun-Sat 22,109 46,429
AR Arkansas Democrat Gazette Sun-Sat 104,539 219,532
AR Fort Smith Times Record Sun- Sat 13,754 28,883
IL Chicago Tribune Sun-Sat 181,718 381,608
iL Chicago Sun Times Sun-Sat 431,402 275,944
OK Oklahoma City Daily Oklahoman Sun-Sat 92,073 193,353
OK Tulsa World Sun-Sat 57,547 120,849
NE Omaha World Herald Sun-Sat 155,000 325,500
IN The Indianapolis Star Mon- Sat 166,542 349,738
IN The Times Sun-Sat 71,184 149,486
MO St. Louis Post Dispatch Sun-Sat 85,000 178,500
MO Kansas City Star Sun-Sat 71,512 150,175
MO Clinton News Mon-Fri 3,685 7,739
MO Columbia Daily Tribune Wed 10,500 22,050
MO Columbia Daily Tribune M-T, Th-Sat 9,000 18,900
MO Daily American Republic Tue-Fri 6,200 13,020
MO Hannibal Courier Post Tue-Sat 4,433 9,309
MO Jefferson City News Tribune Sun-Sat 45,000 31,500
MO Joplin Globe Sun-Sat 18,922 39,736
MO Sedalia Democrat Mon-Sat 5,693 11,955
MO Southeastern Missourian Wed 15,755 33,086
MO Southeastern Missourian M-T, Th-Sat 10,700 22,470
MO Springfield News Leader Sun-Sat 29,120 61,152
MO St Joseph News Press Sun-Sat 23,500 49,350
MO The Examiner Tue-Sat 6,500 13,650
KS Kansas City Star M-Sun 80,818 169,718
KS Wichita Eagle M-Su 60,499
GRAND TOTAL1X |) qe = Z
oo frequency.). |Daille 3,176,464

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 20 of 31

Weekly Newspapers

* County. Pub day(s) 2 2 Readership
Adair Adair News Thursday 2,006
Adams Corning Adams Co. Free Press Thursday 2,300
Allamakee Waukon Standard Wednesday 5,985
Audubon Audubon County Advocate Journal Friday 2,885
Butler Parkersburg Eclipse-News-Review Wednesday 2,358
Chickasaw New Hampton Tribune Tuesday 4,351
Clayton Guttenberg Press Wednesday 4,238
Davis Bloomfield Democrat Wednesday 3,127
Decatur Leon Journal-Reporter Wednesday 3,339
Delaware Manchester Press Wednesday 4,156
Franklin Harnpton Chronicle Wednesday 3,163
Greene Jefferson Herald Thursday 3,866
Guthrie Bayard News Gazette Thursday 2,717
Hancock Garner Leader Wednesday 2,358
Howard Cresco Times Piain Dealer Wednesday 5,139
Keokuk Sigourney News-Review Wednesday 2,728
Kossuth Algona Kossuth County Advance Thursday 5,389
Lyon Doon Press Thursday 2,327
Mitchel Osage Mitchell Co. Press-News Tuesday 3,410
Osceola Ocheyedan Press-Melvin News Wednesday 2,310
Paio Alto Emmetsburg Democrat Thursday 3,308
Pocahontas Pocahontas Record Democrat Wednesday 3,186
Ringgold Mount Ayr Record News Thursday 3,686
Sac Sac City Sac Sun Tuesday 2,444
Taylor Bedford Times Press Wednesday 2,205
Man Buren Keosauqua Van Buren Register Thursday 6,707
Wayne Corydon Times Republican Tuesday 2,783
Winneshiek Decorah Public Opinion Tuesday 9,024
Worth _ Northwood Anchor Wednesday 20 _|__3,402
Missouri
Atchison Rock Port Atchison County Mail Thursday 1,733 3,639
Barton Lamar Democrat Wednesday 1,450 3,045
Bates Butler News-Xpress Friday 4,200 2,520
Caldwell Hamilton Caldwell County News Tuesday 4,082 2,272

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 21 of 31

Cassville Democrat

Carroll Carrolton Democrat Wednesday 1,435 3,014
Chariton Salisbury Chariton County Journal Thursday 2,200 4,620
Clark Kahoka Media Wednesday 2,000 4,200
Dade Greenfield Vedette Thursday 1,600 3,360
Dallas Buffalo Reflex Wednesday 4,156 8,728
Daviess Gallatin North Missourian Wednesday 1,487 3,123
Dekalb Maysville DeKalb Co. Record-Herald Thursday 1,308 2,747
Douglas Ava Douglas Co. Herald Thursday 2,900 6,080
Gentry King City Tri-County News Friday 1,120 2,352
Grundy Trenton Republican-Times Tues, Fri 2,000 4,200
Harrison Bethany Republican-Clipper Wednesday 2,450 5,145
Hoit Oregon Times Observer Thursday 875 1,838
Howard Fayeite Advertiser Wednesday 1,500 3,150
Knox Edina Sentinel Wednesday 1,600 3,360
Lewis Canton Press-News Journal Thursday 1,083 2,274
Macon LaPlata Macon County Home Press Wednesday 1,500 3,160
Maries Vienna Maries County Gazette Wednesday 2,260 4,746
Mercer Princeton Post-Telegraph Thursday 1,100 2,310
Moniteau California Democrat Wednesday 2,580 5,418
Monroe Paris Monroe Ca. Appeal Thursday 4,200 2,520
Oregon Thayer South Missourian News Thursday 71,100 2,310
Osage Linn Unterrified Democrat Wednesday 3,900 8,190
Ozark Gainesville Ozark County Times Wednesday 3,474 7,295
Putnam Unionville Republican Wednesday 1,535 3,224
Schuyler Queen City Schuyler County Times Thursday 1,300 2,730
Scotiand Memphis Democrat Thursday 1,900 3,990
Shelby Shelbina Weekly Wednesday 1,400 2,940
St. Clair Osceola St. Clair County Courier Friday 4,520 3,192
Sullivan Milan Standard Thursday 2,100 4,410
Worth Grant City Times-Tribune Thursday 810 4,701
Moniteau Tipton Times Thursday 1,465 3,077
Taney Branson Tri-Lake News Wed, Sat 6,300 43,230
4,800

Case 4:18-cv-00941-BP Document 126-2

Barty __

Wednesday

70,423

Filed 02/12/20 Page 22 of 31

OKLAHOMA

Atoka Atoka County Times WW 3,099 6,508
Blaine Watonga Republican VW 1,896 3,982
Choctaw Huge News TF 1,971 4,139
Coal Coalgate Record-Register Ww 1,803 3,786
Dewey Seiling Dewey County Record TH 579 1,216
Ellis Shattuck NW Oklahoman TH 424 830
Greer Mangum Star-News TH 1,246 2,617
Harper Buffalo Weekly News W 812 1,705
Haskell Stigler News-Sentinel TH 3,756 7,888
Hughes Holdenvilie News sw 2,000 4,200
Kiowa Hobart Democrat-Chief TH 2,422 5,086
Latimer Wilburton - Latimer Co. News -Tribune [TH 1,639 3,442
Lincoln Chandler - Lincoin County News TH 2,901 6,092
Noble Perry Journal W Sat 3,333 7,010
Newata Nowata Star WW 3,362 7,060
Okfuskee Okemah News Leader ITH 2,625 5,513
Pushmataha Antlers American

Roger Mills Cheyenne Star

Washita Cordell Beacon

Washita Sentinel Leader

Woods |

Alva Review Courier

Pope _ _ Golconda Herald Enterprise

“NEBRASKA

ILLINOIS
Calhoun Hardin Calhoun News-Herald W 4,800 3,780
Jasper Newton Jasper County News Eagle M 5,650 11,865
Schuyler Rushville Times WW 2,975 6,248
Hamilton McLeansboro Gazette Th 4,500 9,450
w 1,600__3,150

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 23 of 31

Orchard/Neligh/Clearwater/Ewing
Antelope County Antelope Co, News Wednesday 2,555 5,366 |
Arthur County Arthur Enterprise Thursday 310 651
Boone County Albion News Wednesday 1,969 4,135
Boyd County Spencer Advocate Thursday 738 1,550
Brown County Ainsworth Star-Journal Wednesday 1,279 2,686
Burt County Tekamah Burt Co. Plaindealer Tuesday 1,264 2,654
Butler County David City Banner-Press Thursday 1,632 3,427
Cedar County Hartington Cedar Co. News* Wednesday 1,493 3,135
Chase County Imperial Republican Thursday 1,598 3,356

10

Cherry County Valentine Midland News Wednesday 1,502 3,154
Cheyenne County [Sidney Sun-Telegraph Wed, Fri 1,459 3,064
Clay County Sutton Clay Co. News Wednesday 1 636 3,436
Cuming County West Point News Wednesday 2,071 4,349
Custer County Broken Bow Custer Co, Chief Thursday 1,865 3,917
Dixon County Ponca NE Journal-Leader Thursday 1,296 2,722
Dundy County Benkelman Post & News-Chronicle Wednesday 944 1,982
Fillmore County Geneva Nebraska Signal Wednesday 1,854 3,893
Franklin County Franklin County Chronicle Wednesday 1,045 2,195
Frontier County Curtis Frontier Co. Enterprise Thursday 822 1,726
Furnas County Cambridge Clarion Thursday 1,871 3,509
Garden County Oshkosh Garden Co, News Wednesday 1,041 2,186
Garfield County Burwell Tribune Wednesday 907 1,905
Grant County Hyannis Grant Co. News Thursday 416 B74
Greeley County Greeley Citizen Thursday 807, 1,695
Harlan County Alma Harlan Co. Journal Thursday 942 1,978
Hayes County Hayes Center Times-Republican Thursday 400 840
Hitchcock County Trenton Hitchcock Co. News Thursday 957 2,040
Holt County O'Neill Holt Co. independent Thursday 1,739 3,652
Hooker County Mullen Hooker Co. Tribune Thursday 22 1,516
Howard County St. Paul Phonograph-Herald Wednesday 2,097 4,404
Jefferson County Fairbury Journai-News* Wednesday 2,103 4,416
Johnson County Tecumseh Chieftain Thursday 1,511 3,173
Keya Paha County _|Springview Herald Wednesday 637 1,338
Kimball County Kimball Western Nebraska Observer" Thursday 878 1,844
Bloomfield/Creighton Knox Co.
Knox County News/Monitor Wednesday 2,938 4,910 |
Logan County Stapleton Enterprise Thursday 703 1,476
Morrill County Bayard Transcript Wednesday 971 2,039
Nance County Fullerton Nance Co. Journal Wednesday 1,094 2,297
Nuckolls County Superior Express Thursday 2,460 5,166 2
Pawnee County Pawnee Republican Thursday 1,179 2,476
Perkins County Grant Tribune-Sentinel Wednesday 4,041 2,186
Pierce County Pierce Co, Leader Thursday 1,330 2,793
Polk County Stromsburg Polk Co. News Thursday 1,212 2,545
Richardson County [Humboldt Standard Thursday 720 1,512
Rock County Bassett Rock Co. Leader Wednesday 902 1,894
Sheridan County Gordon Sheridan Co. Journai-Star Wednesday 1,186 2,491
Sherman County Loup City Sherman Co. Times Wednesday 771 1,619 2
Stanton County Stanton Register Wednesday 727, 1,527
Thayer County Hebron Journal-Register Wednesday 1,643 3,450 2
Thomas County Thedford Thomas County Herald Thursday 410 2

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 24 of 31

11

861

Valley County Ord Quiz Wednesday 1,374 2,885
Webster County _|Red Cloud Chief_ —— Wednesday __| _ 968] __2,033
ee eee oe es oS : ee As 5.189 136,897
ARKANSAS
Madison County Huntsville Madison County Record Thursday 3282 6892,2
Newton County Jasper Newton County Times Wednesday 1218 2557.8
Prairie County Hazen Grand Prairie Herald Wednesday 691 1451.1
Searcy County Marshall Mountain Wave __ Thursday _ - __2279|__ 4785.9
0 aro 45,687
KANSAS
Anderson Garnett Anderson County Area 3,800 7,980
Community News Tuesday
Barber Gyp Hiil Premiere Monday 1,051 2,207
Chase Cottonwood Fails Chase County Leader- 692 1,453
News Thursday
Chautauqua and Elk [Sedan Prairie Star Wednesday 4,438 3,020
Cheyenne St. Francis Herald & Bird City Times Thursday 1,092 2,293
Clark Minneola Clark County Gazette Wednesday 760 1,596
Coffey Burlington Coffey County Republican 2,591 5,441
Thursday
Comanche Coidwater Western Star Thursday 7514 1,577
Decatur Oberlin Herald Wednesday 1,425 2,363
Doniphan Wathena Kansas Chief Thursday 1,995 4,190
Edwards Kinsley Edwards County Sentine! Wednesday 509 1,069
Gove Quinter Gove County Advocate Wednesday 1,143 2,400
Graham Hill City Times Wednesday 1,528 3,209
Gray Montezuma Press Thursday 877 1,842
Hamilton Syracuse Journal Wednesday 646 1,357
Harper Anthony Republican Wednesday 4,390 2,919
Hodgeman Jetmore Republican Wednesday 461 968
Jackson Holton Recorder Mon, Wed 3,240 6,804
Jewell Mankato Jewell County Record Thursday 526 41,105
Kearny Lakin Independent Wednesday 995 2,080
Kingman Kingman Leader-Courier Thursday 930 1,953
Kiowa Mullinville Merchant's Directory Wednesday 414 869
Lane Dighton Herald Wednesday 665 1,397
Lincoln Lincoln Sentinel-Republican Thursday 719 4,510
Linn Pleasanton Linn County News Wednesday 1,299 2,128
Logan Oakley Graphic Wednesday 902 4,894
Marion Marion County Record Wednesday 2,971 4,349
Marshall Marysville Advocate Thursday 3,550 7,455
Meade Meade County News Wednesday 41,613 3,387
Mortis White City Prairie Post Thursday 566 4,189
12

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 25 of 31

Morton Elkhart Tri-State News Thursday 496 4,042
Nemaha Seneca Courier-Tribune Wednesday 2,670 5,807
Ness Ness County News Thursday 1,295 2,720
Norton Norton Telegram Wednesday 963 2,022
Osage Osage City Osage County Heraid- 3,898 8,186
Chronicle Thursday
Osborne Osborne County Farmer Thursday 924 1,940
Ottawa Minneapolis Messenger Thursday 964 2,024
Phillips Russell Phillips County Review Wednesday 952 1,999
Rawlins Atwood Rawlins County Square Deal Thursday 1,594 3,347
Republic Belleville Telescope Thursday 2,673 5,613
Rooks Stockton Sentinel Thursday 1,159 2,434
Rush La Crosse Rush County News Wednesday 897 1,884
Sheridan Sheridan Sentinel Thursday 503 4,056
Sherman Goodand Star-News Tues. Fri 1,119 2,350
Smith Smith County Pioneer Thursday 1,536 3,224
Stafford Stafford Courier Wednesday 836 1,756
Stanton Johnson Pioneer Thursday 703 1,476
Stevens Hugoton Hermes Thursday 1,446 2,407
Trego Russell Western Kansas Worid Thursday 1,263 2,652
Wabaunses Alma Wabaunsee County Signal- 983 2,064
Enterprise Thursday
Wallace Sharon Springs Western Times Thursday 549 1,153
Washington Washington County News Thursday 1,909 4,009
Wichita Leoti Wichita County Native Sun (aka 583 1,224
Leoti Standard) Wednesday
Woodson Yates Center News Thursday 1,186 2,494

“GRAND TOTAL 1X

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 26 of 31

13

Cable Television — RFD-TV

Overview

RFD-TV is the flagship network for Rural Media Group. It is the nation’s first 24-hour
television network featuring programming focused on the agribusiness, equine and the
rural lifestyles, along with traditional country music and entertainment.

RFD-TV produces six hours of live news each weekday in support of rural America and
is a leading independent cable channel available in more than 52,000,000 homes on
Dish, DirecTV, AT&T U-Verse, Charter Spectrum, Cox, Comcast, Mediacom,
Suddenlink and many other rural cable systems.

In addition, RFD-TV can be streamed via The Country Club, DirecTV NOW, Roku and
Sling TVs Heartland Extra package. RFD-TV is the number one source for market and
commodities information as it happens.

Research shows that over 63% of all producers watch RFD-TV with most watching
agriculture-oriented programs. Up to 73% have access to RFD-TV through satellite or
cable; 60% get their television signal from satellite TV (Dish Network has the most, with

33%).

We recommend a total of 44 :30 second spots, favoring the Market Day Report for the
most spots. We would run these when the campaign launches, followed by the Rural
Evening News for two weeks. The Ag Rotation would be the final two weeks of the TV

schedule.

Daypart Frequency Comments
Market Day 20x; 3xiwk x6wks | M-F(5
Report + 2 in final week hrs./day
Rural Evening 42x: 6xiwk. x2 wks | M—F 7:30-
News 8pm
| Ag Rotation 12x: 6xiwk x2 wks | M- Sun
Programming Daypart Avg
viewing
HHs
Market Day Report M-F, 9am — 2pm 14,060
Rural Evening News 7.30-8pm 14,006
Rural Evening News 11:30 - 12am 6,000
Rural Evening News 7:30 — 8am 6,000
Ag programs M - Sun 17,000
| Ag Rotation Weekends 48,000

Every day, Market Day Report (airing 5 hours daily, M-F) delivers “live” coverage
of agri-business news, weather and commodity market information from across
the world. The market coverage is constantly updated every half-hour brining
farmers the latest on the markets.

Rural Evening News (airing 30 minutes daily, M-F) presents the day's news
surrounding agriculture and markets from across the world. Along with market

14
Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 27 of 31

news, RFD-TV’s news staff broadcasts news stories covering topics including
auctions, cattle, farm equipment, ranch, real estate and much more.

Ag Rotation means that a spot will rotate throughout RFD’s agricultural focused
programming.

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 28 of 31

15

Satellite Radio — Rural Radio (broad coverage)

Overview

Exclusively on Sirius XM channel 147, Rural Radio 147 is the largest
agribusiness and Western-lifestyle channel for the US and Canada. Rural Radio
is available to 28,000,000 U.S. households and 3,000,000 Canadian households.
Rural Radio provides broad coverage in farming communities across the country.
Rural Radio 147’s program schedule revolves around original productions
focused on agriculture, equine, hunting, fishing, Western sports, and living the
country life in small towns around rural America. The channel airs multiple
exclusive news and agriculture series along with live broadcasts of Western
sports competitions from the PBR, PRCA rodeos, and WPCA Chuckwagon
races.

Research shows that more than 50% of US producers subscribe or listen to
SiriusXM. Sixty-eight percent of Rural Radio 147’s listeners in ail the states
surveyed do NOT listen to AM/FM broadcasters for farm information in the
previous month surveyed.

Recommended programming for Rural Radio 147: Market Day Report: :30
second spot. Radio is simulcast with TV broadcast (M-F, 9a-2p). 60 :30 second
spots run in flights; 1x a day for 30 consecutive days, then 1x every other day
over 60 days spanning a 90 day period.

Name # spots
siriusAM 60

Terrestrial Radio
Ag network (targeted geographic coverage)

Overview

This is a network of stations that target farmers — both crop and livestock. The
network configuration allows us to target all seven of Citgo’s largest revenue
states. They trend to the larger producers, managing over 250+ acres of crops.
The programming is state based programming that consists of:

+ Local/State news

+ Local weather

* Local and national grain and livestock market reports

+ National ag news

We recommend airing spots with programming relevant to the target audience
that starts at 5am to 3pm (market close reports). The station format is different in
each state and area. The network seeks high listenership stations that carry the
ag programming. Formats range from country, rock to talk.

Budget is for a total of 140 :60 second spots. One spot per day, 5x/wk for four
weeks. The schedule would be in two flight; three weeks on, two weeks off, and

two weeks on, spanning seven weeks.
16

Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 29 of 31

State Name # of # of Avg. # spots
stations | farmers | reach/spot

MO MO radio network 4] 37,000 42,500 20

IN Hoosier Ag Today 12 |_ 36,000 15,000 20

IL RFD IL Network 16 | 62,000 28,000 20

1A Agribusiness Radio 15) 65,000 21,300 20
Network

NE Rural Radio Network 14| 62,000 24,000 20

OK Radio OK Network 40; 749,600 6,500 20

AR Northern Delta 124 714,000 5,400 20
Network

Publicity

We recommend distributing a press release to go out close to the launch of the
notice campaign to raise consumer awareness to the settlement. The national
release would be offered to online news outlets and other sites via PRweb.

Campaign timing

Once a start date is determined, the agency will develop a timeline for the
campaign. All ads must be approved by the media prior to going live. In the early
stages of the campaign, we may alter the pace by either accelerating or holding
back digital impressions to get an indication of performance.

Tracking

Given the multi-media, multi-platform nature of this notice campaign, digital traffic
to the website will be tracked using UTM (urchin tracking module) or other
tracking methods to determine from where the traffic is being generated. Google
Analytics will capture this information that will serve as vital decision support data
from which to reallocate budget as may be necessary.

General notes
All digital and social campaigns are subject to fine-tuning once the campaigns
start. Near real-time data allows to us monitor and manage the campaigns as
they are in progress,

The numbers stated in this proposal are estimates and in no way should they be
construed as guarantees of performance.

17
Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 30 of 31

Media Summary

| Platform [Impressions _| Reach | Frequency cap

Google Dispiay Network 12,643,700 1,264,370 | 10x over campaign
Google Search nia n/a nia
Facebook 4,635,900 927,000 5x over campaign
Print - national 1,337,427 1,337 427 1x
Print — state 324,029 324,029 1x
Online ag sites display ads 1,100,000 1,100,000 n/a
Print ~ daily newspapers 1,512,602 1,512,602 1x
Print — weekly newspapers 318,930 318,930 1x
Broadcast - TV 580.000 nia nia
Broadcast — Rural Radio TBD n/a n/a
Broadcast - Ag Network nia 2,254,000 n/a
Total 21,872,268 9,038,358

We are not counting pass along circulation for print media in reach calculations, so impressions =
reach. Frequency caps for online display ads on ag sites and on TV and Rural Radio are not yet
established. Once the schedule is finalized we can add the reach where appropriate. Reach
figures are calculated within the medium used and not across all media.

All representations of impressions and reach are estimates. We calculate some digital
impression and reach estimates based on the midpoint of the range provided by the medium.

Once the campaign start date is established, we will recommend the timing of the different media
over the 150-day campaign.

18
Case 4:18-cv-00941-BP Document 126-2 Filed 02/12/20 Page 31 of 31

